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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------   Case No. 20-cv-10832 (AT)
Securities and Exchange Commission,                             :
                                                                :
                                    Plaintiff,                  :
                                                                :
         -against-                                              : MOTION FOR ADMISSION
                                                                : PRO HAC VICE OF JOHN E.
Ripple Labs, Inc., Bradley Garlinghouse,                        : DEATON
and Christian A. Larsen,                                        :
                                    Defendants,                 :
                                                                :
                                                                :
Jordan Deaton, James LaMonte, Tyler LaMonte,                    :
Mya LaMonte, Mitchell McKenna, Kristiana                        :
Warner and All Similarly Situated XRP holders.                  :
                                                                :
                                    Proposed Intervenors. :
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         Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern District of New York, I, John E. Deaton, hereby move this Court for an Order for

admission to practice pro hac vice to appear as counsel for the Proposed Intervenors in the

above-captioned case.

       I am a member in good standing of the bars of the states of Connecticut, Iowa, Rhode

Island, the Commonwealth of Massachusetts and the Federal bar of Rhode Island. There are no

pending disciplinary proceedings against me in any state or federal court. I have never been

convicted of a felony. I have never been censured, suspended, disbarred or denied admission or

readmission by any court. I have attached the affidavit pursuant to Local Rule 1.3.



Dated: March 14, 2021                                       Respectfully Submitted

                                                            /s/ John E. Deaton
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